               Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 1 of 14
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                                                                                             FILED
                          UNITED STATES DISTRICT COURT                                         Apr 15 2021

                          NORTHERN DISTRICT OF CALIFORNIA                                    SUSANY. SOONG
                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                                                                              SAN FRANCISCO
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Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.
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    86$9   CARLOS E. KEPKE                                      &5

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     United States District Court                                                               FILED
                          FOR THE                                                                 Apr 15 2021

               NORTHERN DISTRICT OF CALIFORNIA                                                  SUSANY. SOONG
                                                                                           CLERK, U.S. DISTRICT COURT
                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                                                 SAN FRANCISCO
                    VENUE: SAN FRANCISCO


                         UNITED STATES OF AMERICA,
                                          V.

                              CARLOS E. KEPKE




                               DEFENDANT(S).


                              INDICTMENT

             18 U.S.C. § 371 – Conspiracy to Defraud the United States;
   26 U.S.C. § 7206(2) – Aiding and Assisting the Filing of a Materially False Income
                                     Tax Return




          A true bill.

          /s/ Foreperson of the Grand Jury
                                                              Foreman

                                   15th
          Filed in open court this __________ day of

          April, 2021 _____________________
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             Hon. Jacqueline Scott Corley
                 Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 3 of 14


                                                                       FILED
 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2                                                                       Apr 15 2021

 3                                                                 SUSANY. SOONG
 4                                                            CLERK, U.S. DISTRICT COURT
                                                           NORTHERN DISTRICT OF CALIFORNIA
 5                                                                  SAN FRANCISCO
 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN FRANCISCO DIVISION

11    UNITED STATES OF AMERICA,                            Case No. 3:21-cr-00155 JD

12              Plaintiff,                                 VIOLATIONS: 18 U.S.C. § 371 –
                                                           Conspiracy to Defraud the United States;
13                      v.                                 26 U.S.C. § 7206(2) – Aiding and
                                                           Assisting in the Preparation of a
14    CARLOS E. KEPKE,                                     Materially False Income Tax Return

15              Defendant.                                 SAN FRANCISCO VENUE

16

17

18                                            INDICTMENT

19 The Grand Jury charges:

20                                                Introduction

21         At all times relevant to this Indictment:

22         1.        Defendant CARLOS E. KEPKE was a United States citizen working and residing in

23 Houston, Texas.

24         2.        KEPKE was employed as an attorney specializing in creating and maintaining foreign

25 trusts and companies for his clients. Beginning in or about 1999, through December 31, 2014, Robert F.

26 Smith was one of KEPKE’s clients. Smith was a United States citizen residing at various times in

27 California, Switzerland, and Texas.

28

     INDICTMENT                                        1
                 Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 4 of 14




 1          3.      From in or about 2000 to the date of this Indictment, Smith was the Chairman and Chief

 2 Executive Officer of Vista Equity Partners (“Vista”), a private equity firm which conducted business in

 3 the Northern District of California.

 4          4.      Vista formed private equity fund partnerships that purchased companies for the purpose

 5 of increasing their value and selling them for a profit.

 6          5.      Private equity funds raise money to invest from investors which are usually designated as

 7 general partners or limited partners. Limited partners commit in advance to provide pre-determined

 8 amounts of investment capital when the fund “calls” capital to make an investment. Limited partners

 9 generally do not participate in the management of the fund or the formation of investment strategy.

10          6.      General partners generally manage the fund and make investment decisions. General

11 partners are normally paid a fee for their managerial services in the form of a percentage of invested

12 capital. General partners can also be compensated in the form of “carried interest.” Carried interest

13 often consists of a percentage of the fund’s net profits. In the United States, carried interest is taxable to

14 recipients as capital gains income under Title 26, United States Code, Sections 1223 & 1061.

15          7.      Vista’s first fund was Vista Equity Fund II, L.P. (“VEF II”), a private equity fund

16 partnership formed by Smith, and others, in the Cayman Islands in or about March 2000. VEF II was

17 initially called “Emerging Technologies Investment Fund, L.P.,” but its name was changed to VEF II

18 shortly after it was formed.

19          8.      Smith received an 8 percent general partnership interest in VEF II, which had three

20 general partners: Combs Young, LLC; Partner 2; and Flash Holdings, LLC (“Flash Holdings”). Smith

21 held half of his 8 percent interest through Combs Young, LLC, his single-member LLC. Smith held the

22 other half of his 8 percent interest through Flash Holdings. Flash Holdings was a Nevisian limited

23 liability company created by KEPKE for Smith on or about March 9, 2000. Flash Holdings had no

24 employees, no offices, and never provided any service to Vista or any Vista fund. Flash Holdings had

25 no business purpose other than holding assets for the benefit of Smith, and its primary initial asset was a

26 4 percent general partnership interest in VEF II.

27          9.      Excelsior Trust was a Belizean entity formed by KEPKE for Smith on or about March 29,

28 2000 to be the owner of Flash Holdings. Excelsior Trust had no employees, no offices, and never

     INDICTMENT                                        2
                  Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 5 of 14




 1 provided any service to Vista or any Vista fund. Excelsior Trust had no business purpose other than

 2 holding assets for the benefit of Smith. KEPKE and Smith caused an individual with the initials of HW

 3 to be designated as the creator, or “Settlor,” of Excelsior Trust. HW was a citizen and resident of the

 4 United Kingdom, and the elderly uncle of Smith’s spouse at the time. Smith was designated as the

 5 “Trust Protector” of the Excelsior Trust, which gave him the power to appoint and remove the Trustee.

 6 The Beneficiaries of Excelsior Trust were Smith, members of Smith’s family, and unnamed charities.

 7          10.      The initial Trustee of Excelsior Trust was Cititrust, International, Inc. (“Cititrust”), a

 8 Belizean corporation. Cititrust was eventually replaced as the Trustee of Excelsior Trust by another

 9 Belizean entity, Orion Corporate & Trust Services, Ltd (“Orion”). Both Cititrust and Orion were in the

10 business of acting as an institutional, non-custodial, trustees for trusts formed in Belize by third parties.

11          11.      The Managing Director of Flash Holdings was Serco Management, Ltd (“Serco”). Serco

12 is a subsidiary of ATU General Trust (BVI), Ltd. (“ATU”), both of which were companies in the British

13 Virgin Islands (“BVI”) that provided trust management services.

14          12.      As a general partner of VEF II, Flash Holdings received distributions, including carried

15 interest, during the calendar years 2010, 2011, 2012, 2013, and 2014. The distributions to Flash

16 Holdings were transferred to bank accounts in Switzerland and the BVI, and were not timely reported to

17 the United States Department of the Treasury, Internal Revenue Service (“IRS”), as income on any

18 United States income tax return.

19 COUNT ONE:               (18 U.S.C. § 371 – Conspiracy – 1999-2015)

20          13.      The allegations set forth in paragraphs 1 through 12 of this Indictment are re-alleged and

21 incorporated as if set forth fully herein.

22          14.      From on or about December 1, 1999, to on or about October 20, 2015, in the Northern

23 District of California and elsewhere, the defendant,

24                                               CARLOS E. KEPKE,

25 did unlawfully, voluntarily, and willfully conspire and agree with Smith, and others known and

26 unknown to the Grand Jury, to defraud the United States by impeding, impairing, obstructing, and

27 defeating the lawful Government functions of the Internal Revenue Service of the Department of the

28 Treasury in the ascertainment, computation, assessment, and collection of the revenue: namely,

     INDICTMENT                                         3
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 1 individual federal income taxes due and owing by Smith for the tax years 2005 through and including

 2 2014.

 3                                           Object of the Conspiracy

 4          15.      It was the object of the conspiracy for KEPKE and Smith to conceal a portion of Smith’s

 5 income from the IRS, thus evading the statutory assessment of the appropriate tax due and owing on this

 6 income. This was accomplished using offshore entities including Excelsior Trust and Flash Holdings,

 7 which were created and managed with KEPKE’s direction and assistance to hold assets including a

 8 portion of Smith’s investments in Vista funds, and to create the appearance that income generated by

 9 those investments, which was deposited into foreign bank accounts held in the name of Flash Holdings,

10 but for the benefit of Smith, was not taxable to Smith, when in reality, as KEPKE knew, Smith actually

11 earned this income, and retained full dominion and control over it.

12                                               Manner & Means

13           The manner and means by which the scheme was sought to be accomplished included, among

14 others, the following:

15          16.      It was part of the conspiracy that in or about 1999, KEPKE was retained and paid by

16 Smith to create and manage offshore entities to conceal from the IRS income Smith earned as a result of

17 his investments in Vista funds through Flash Holdings.

18          17.      It was further part of the conspiracy that in or about 1999, KEPKE was retained and paid

19 by Smith to create Excelsior Trust in Belize and Flash Holdings in Nevis. The purposes of forming

20 these entities included: Concealing the fact that Smith held investments in Vista funds through Flash

21 Holdings; creating and maintaining a false paper trail indicating that HW was the true Settlor of

22 Excelsior Trust; creating and maintaining a false paper trail indicating that Flash Holdings and Excelsior

23 Trust were independently managed by Cititrust, Orion, Serco, and other offshore service providers rather

24 than by Smith, directly or through KEPKE; and opening offshore bank accounts in the name of, or for

25 the benefit of, Flash Holdings, into which Smith could deposit income and assets he wished to conceal

26 from the IRS – all for the purpose of evading the payment of income taxes.

27          18.      It was further part of the conspiracy that half of Smith’s 8 percent general partnership

28 interest in VEF II was assigned to Flash Holdings.

     INDICTMENT                                        4
                  Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 7 of 14




 1          19.      It was further part of the conspiracy that KEPKE directed Smith to designate, and

 2 assisted Smith in designating, an elderly, foreign relative who would never live in the United States to

 3 act as Settlor of Excelsior Trust. KEPKE and Smith caused an individual with the initials of HW to fill

 4 that role. In reality, HW had nothing more than a nominal role in the formation, management, or

 5 maintenance of Excelsior Trust, and Smith was the true creator of Excelsior Trust.

 6          20.      It was further part of the conspiracy that KEPKE directed Smith to hire and pay, and

 7 assisted Smith in hiring and paying, Cititrust and Orion to serve as nominal Trustees of Excelsior Trust.

 8 In reality, Smith was the beneficial owner of Excelsior Trust and he retained complete dominion and

 9 control over Excelsior Trust and all of its assets, either directly or through KEPKE. Neither Cititrust nor

10 Orion independently managed or controlled assets held in the names of Excelsior Trust or Flash

11 Holdings. Instead, Cititrust and Orion at all times took direction from Smith, either directly or through

12 KEPKE, with respect to assets held in the names of Excelsior Trust or Flash Holdings.

13          21.      It was further part of the conspiracy that KEPKE directed Smith to hire and pay, and

14 assisted Smith in hiring and paying, Serco to serve as the nominal Managing Director of Flash Holdings.

15 In reality, Smith was the beneficial owner of Flash Holdings and he retained complete dominion and

16 control over Flash Holdings and all of its assets, either directly or through KEPKE. Serco did not

17 independently manage or control assets held in the names of Excelsior Trust or Flash Holdings. Instead,

18 Serco at all times took direction from Smith, either directly or through KEPKE, with respect to assets

19 held in the names of Excelsior Trust or Flash Holdings.

20          22.      It was further part of the conspiracy that on or about November 19, 2004, KEPKE

21 directed Smith to open, and assisted Smith in opening, a bank account at a bank in the BVI, account

22 ***920, in the name of “Flash Holdings LLC” (“the BVI Account”), for the purpose of concealing from

23 the IRS income earned by Smith. The signatories on this account were individuals employed by Serco

24 who, at all times took direction from Smith, either directly or through KEPKE, with respect to the BVI

25 Account. Smith was the beneficial owner of the BVI Account.

26          23.      It was further part of the conspiracy that on or about February 14, 2007, Smith opened,

27 and caused to be opened, a bank account at Banque Bonhôte in Neuchâtel, Switzerland, account ***808,

28 in the name of “[VEF II] FBO Flash Holdings, LLC” (“the Banque Bonhôte Account”) for the purpose

     INDICTMENT                                       5
                  Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 8 of 14




 1 of concealing from the IRS income earned by Smith. Smith had sole signatory authority over, and was

 2 the beneficial owner of, the Banque Bonhôte Account.

 3          24.      It was further part of the conspiracy that, over time, Flash Holdings became a partner or

 4 member of many Vista funds in addition to VEF II. As a partner and member of Vista funds, Flash

 5 Holdings received distributions, including carried interest, during the calendar years 2010, 2011, 2012,

 6 2013, and 2014. The distributions to Flash Holdings were transferred from Vista to the BVI Account

 7 and the Banque Bonhôte Account. From in or about 2005, through and including 2014, the amount of

 8 carried interest and capital gain income distributed by Vista to these bank accounts was approximately

 9 $225,000,000. In reality, these funds represented income earned by Smith, but this income was not

10 timely reported on any United States income tax return.

11          25.      It was further part of the conspiracy that KEPKE directed Smith to use, and assisted

12 Smith in using, assets held in the names of Excelsior Trust and Flash Holdings for his own personal

13 benefit, including to purchase and improve a home in Sonoma, California, a ranch complex in Gilpin

14 County, Colorado, and several properties in Megève France.

15          26.      It was further part of the conspiracy that Smith retained a professional income tax return

16 preparation firm in the Northern District of California which prepared his 2012, 2013, and 2014 United

17 States Individual Income Tax Returns, Forms 1040. Based on KEPKE’s advice, Smith did not disclose

18 to his income tax return preparers his true ownership and control of assets held in the names of Excelsior

19 Trust and Flash Holdings, or the income distributed by Vista to the BVI Account and the Banque

20 Bonhôte Account.

21          27.      It was further part of the conspiracy that from in or about 2007 through and including

22 2015, Smith paid KEPKE approximately $1,000,000 to compensate KEPKE for creating, managing, and

23 maintaining Excelsior Trust, Flash Holdings, and other related services and expenses.

24          28.      It was further part of the conspiracy that, beginning no later than 2009, KEPKE charged

25 Smith an annual fee to purge, or “Securitize,” his file related to Smith, Excelsior Trust, and Flash

26 Holdings by destroying records.

27

28

     INDICTMENT                                       6
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 1                                                   Overt Acts

 2          In furtherance of the scheme, and to effect the objects thereof, the following overt acts were

 3 committed within the Northern District of California, and elsewhere:

 4          29.      On or about December 8, 1999, KEPKE sent Cititrust a draft Trust Indenture which he

 5 had drafted to be used to establish a trust in Belize for the benefit of Smith and his family, for which

 6 Smith would pay Cititrust $30,000.

 7          30.      On or about March 6, 2000, KEPKE informed Cititrust that HW was to be the Settlor of

 8 Smith’s trust, which was to be named Excelsior Trust, and instructed Cititrust to finalize the Trust

 9 Indenture, and forward three copies to Smith at his personal residence in California for execution.

10          31.      On or about March 9, 2000, KEPKE, and others, caused Flash Holdings to be

11 incorporated in Nevis, and caused Serco to be designated as the Managing Director of Flash Holdings.

12          32.      On or about March 10, 2000, KEPKE instructed Cititrust that Smith would send Cititrust

13 a check for $30,000 in payment of its fees for the creation of Excelsior Trust, and that $15,000 of this

14 fee was to be wired to an account KEPKE maintained in the name of “Garfield Investments.”

15          33.      On or about March 13, 2000, KEPKE directed Smith to send $7,500 worth of money

16 orders to Cititrust as the initial corpus of Excelsior Trust.

17          34.      On or about March 29, 2000, KEPKE directed and caused the Excelsior Trust Indenture

18 to be executed.

19          35.      On or about March 30, 2000, the Partnership Agreement for VEF II (initially called

20 “Emerging Technologies Investment Fund, L.P.,”) was executed listing “Flash Holdings, LLC,” as a

21 general partner in the fund with a 4 percent general partnership interest.

22          36.      On or about April 8, 2000, as directed by KEPKE, Smith sent a $30,000 personal check,

23 drawn on his account at Citibank in New York to Cititrust as payment for the creation of Excelsior Trust

24 in Belize.

25          37.      On or about January 16, 2003, KEPKE requested and received from Cititrust eleven (11)

26 unsigned and unexecuted bearer shares for Flash Holdings.

27          38.      On or about November 19, 2004, KEPKE advised and assisted Smith in opening, and

28 causing to be opened, the BVI Account.

     INDICTMENT                                       7
               Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 10 of 14




 1          39.     On or about February 14, 2007, Smith opened, and caused to be opened, the Banque

 2 Bonhôte Account.

 3          40.     On or about February 10, 2009, KEPKE directed and caused the shares of Flash Holdings

 4 to be changed from bearer shares to registered shares.

 5          41.     On or about May 7, 2009, KEPKE forwarded to Cititrust a document entitled “Written

 6 Resolution of the Sole Member” of Flash Holdings changing the title of Serco from “Managing

 7 Director” of Flash Holdings to “Sole Manager” of Flash Holdings, and instructed Cititrust to sign and

 8 execute the document “on behalf of Excelsior Trust as the Sole Member” of Flash Holdings.

 9          42.     On or about November 25, 2009, KEPKE advised and assisted Smith in notifying

10 Cititrust in writing that he was terminating their position as Trustee of Excelsior Trust, and that Orion

11 had been designated the successor Trustee.

12          43.     From in or about November 2010 through and including January 2011, KEPKE advised

13 and assisted Smith in forming Flash Property Holding, LLC, in Nevis, White Mulberry SARL in

14 Luxembourg, and SCI Thisbe and SCI Pyramus in France, for the purpose of holding title to two ski

15 condominiums and a commercial building in Mègeve, France (“Mègeve Properties”).

16          44.     In or about December 2010, Smith transferred approximately €5.3 million from the

17 Banque Bonhôte Account to a third party as payment for the purchase of the Mègeve Properties.

18          45.     On or about May 2, 2012, KEPKE falsely informed a third party that Smith was not a

19 beneficial owner of Flash Holdings.

20          46.     From in or about 2005 through and including 2014, as advised by KEPKE, Smith

21 directed personnel and employees at Vista to distribute approximately $225,000,000 in capital gains and

22 carried interest income to Flash Holdings, including the following:

23

24

25

26

27

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     INDICTMENT                                      8
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 1
        Approximate        Approximate       Distribution From              Distribution To
 2         Date              Amount

 3   December 24, 2010       $2,023,788              VEF II         Banque Bonhôte account ***808-1

 4   December 14, 2011       $1,482,875     Vista Equity Partners   Banque Bonhôte account ***808-1
                                                  III, LLC
 5
     December 23, 2011       $1,975,279              VEF II         Banque Bonhôte account ***808-1
 6
        March 2, 2012        $2,009,710              VEF II         Banque Bonhôte account ***808-1
 7
       August 24, 2012       $4,000,000     Vista Equity Partners           The BVI Account
 8                                           Fund III, GP, LLC

 9     August 24, 2012       $8,861,414     Vista Equity Partners   Banque Bonhôte account ***808-1
                                             Fund III, GP, LLC
10
     November 20, 2012       $7,664,553     Vista Equity Partners   Banque Bonhôte account ***808-1
11                                           Fund III, GP, LLC

12   December 24, 2012       $8,615,133     Vista Equity Partners   Banque Bonhôte account ***808-1
                                             Fund III, GP, LLC
13
      November 7, 2013      $16,734,975     Vista Equity Partners   Banque Bonhôte account ***808-1
14                                           Fund III, GP, LLC

15   November 22, 2013       $2,123,427              VEF II         Banque Bonhôte account ***808-1

16   November 22, 2013       $237,149                VEF II         Banque Bonhôte account ***808-1

17   November 18, 2014       $7,060,603     Vista Equity Partners   Banque Bonhôte account ***808-1
                                             Fund III, GP, LLC
18

19         47.    From in or about 2007 through and including 2015, Smith directed and caused

20 approximately $1,000,000 to be transferred to KEPKE’s bank account at Amegy Bank of Texas in

21 Houston, Texas, in payment of KEPKE’s fees and expenses, including the following:

22
        Approximate        Approximate                Distribution From             Distribution To
23         Date              Amount

24      July 13, 2012         $75,000        Banque Bonhôte account ***808-1           Amegy Bank

25     March 19, 2013         $20,000        Banque Bonhôte account ***808-1           Amegy Bank

26      May 23, 2013          $40,000        Banque Bonhôte account ***808-1           Amegy Bank

27   September 23, 2013       $70,000             Domestic Bank Account                Amegy Bank

28    November 8, 2013        $57,000             Domestic Bank Account                Amegy Bank

     INDICTMENT                                  9
               Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 12 of 14




 1
        January 7, 2014         $75,000              Domestic Bank Account                 Amegy Bank
 2
       January 22, 2014         $57,000              Domestic Bank Account                 Amegy Bank
 3
         July 31, 2014          $71,000              Domestic Bank Account                 Amegy Bank
 4
       February 20, 2015        $84,000              Domestic Bank Account                 Amegy Bank
 5

 6          48.     On or about October 16, 2013, in the Northern District of California, Smith directed and

 7 caused to be prepared and filed with the IRS a joint U.S. Individual Income Tax Return, Form 1040, for

 8 the tax year 2012, which he knew to be false, to wit: Based on KEPKE’s advice, Smith failed to

 9 accurately report and pay income tax on capital gains and carried interest income distributed and

10 deposited into foreign bank accounts held in the name of, or for the benefit of, Flash Holdings.

11          49.     On or about October 17, 2014, in the Northern District of California, Smith directed and

12 caused to be prepared and filed with the IRS a joint U.S. Individual Income Tax Return, Form 1040, for

13 the tax year 2013, which he knew to be false, to wit: Based on KEPKE’s advice, Smith failed to

14 accurately report and pay income tax on capital gains and carried interest income distributed and

15 deposited into foreign bank accounts held in the name of, or for the benefit of, Flash Holdings.

16          50.     On or about October 20, 2015, in the Northern District of California, Smith directed and

17 caused to be prepared and filed with the IRS a joint U.S. Individual Income Tax Return, Form 1040, for

18 the tax year 2014, which he knew to be false, to wit: Based on KEPKE’s advice, Smith failed to

19 accurately report and pay income tax on capital gains and carried interest income distributed and

20 deposited into foreign bank accounts held in the name of, or for the benefit of, Flash Holdings.

21          All in violation of Title 18, United States Code, Section 371.

22 COUNTS TWO TO FOUR: (26 U.S.C. § 7206(2) – AIDING AND ASSISTING IN THE
                                    PREPARATION OF MATERIALLY FALSE TAX RETURNS)
23
           51.      The United States re-alleges the facts set forth in paragraphs 1 through 12 and 16 through
24
   50 as if fully set forth herein.
25
           52.      From on or about December 1, 1999, through on or about October 20, 2015, in the
26
   Northern District of California and elsewhere, the defendant,
27
                                              CARLOS E. KEPKE,
28

     INDICTMENT                                     10
               Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 13 of 14




 1 willfully aided and assisted in, and procured, counseled, and advised the preparation and presentation to

 2 the Internal Revenue Service of United States Individual Income Tax Returns, Form 1040, for the

 3 taxpayer and calendar years set forth below, which were false and fraudulent as to a material matter.

 4 The tax returns failed to report income distributed and deposited into foreign bank accounts held in the

 5 name of Flash Holdings, for the benefit of the taxpayer, as part of a foreign trust structure created by

 6 KEPKE, devised to conceal the taxpayer’s true ownership and control over said income.

 7          Count            Approximate             Taxpayer               Year               False Item
                              Filing Date
 8
             Two            October 16, 2013           Smith                 2012           Line 13, Capital
 9                                                                                          Gains or Losses

10          Three           October 17, 2014           Smith                 2013           Line 13, Capital
                                                                                            Gains or Losses
11           Four           October 20, 2015           Smith                 2014           Line 13, Capital
                                                                                            Gains or Losses
12

13
     All in violation of Title 26, United States Code, Section 7206(2); Title 18, United States Code, Section
14
     2; and Pinkerton v. United States, 328 U.S. 640 (1946) (coconspirator liability).
15

16
        DATED: April 15, 2021                              A TRUE BILL
17
                                                              V
                                                           __________________________
18                                                         FOREPERSON
19
        STEPHANIE M. HINDS
20      Acting United States Attorney

21      s/ Michael G. Pitman
        MICHAEL G. PITMAN
22      Assistant United States Attorney
23

24      Approved as to Form

25      s/ Corey J. Smith
        COREY J. SMITH
26      Senior Litigation Counsel
        Tax Division, U.S. Department of Justice
27

28

     INDICTMENT                                      11
AO 257 (Rev. 6/78)              Case 3:21-cr-00155-JD Document 1 Filed 04/15/21 Page 14 of 14

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                 INFORMATION                   INDICTMENT                              Name of District Court, and/or Judge/Magistrate Location
                                                                  SUPERSEDING                               NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                      SAN FRANCISCO DIVISION
 18 U.S.C. § 371 – Conspiracy                                                 Petty
 26 U.S.C. § 7206(2) – Aiding and Assisting the Filing of a
 Materially False Income Tax Return                                           Minor                DEFENDANT - U.S
                                                                              Misde-                                                                   FILED
                                                                              meanor                  CARLOS E. KEPKE
                                                                                                                                                         Apr 15 2021
                                                                              Felony                                                                   SUSANY. SOONG
                                                                                                      DISTRICT COURT NUMBER                       CLERK, U.S. DISTRICT COURT
PENALTY:       18 U.S.C. § 371- 5 yrs prison, $250k fine, 3 yrs sup. rel., $100 special
                                                                                                      3:21-cr-00155 JD                         NORTHERN DISTRICT OF CALIFORNIA
               assessment; 26 U.S.C. § 7206(2) - 3 yrs prison, $250k fine, 1 yr sup.                                                                    SAN FRANCISCO
               rel., $100 special assessment


                                                                                                                                DEFENDANT
                               PROCEEDING                                                                IS NOT IN CUSTODY
                                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                       1)       If not detained give date any prior
                        INTERNAL REVENUE SERVICE
                                                                                                          summons was served on above charges            
       person is awaiting trial in another Federal or State Court,                               2)       Is a Fugitive
       give name of court
                                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                         IS IN CUSTODY
                                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                                           }
       charges previously dismissed                                                              5)       On another conviction
       which were dismissed on motion                                SHOW                                                                              Federal           State


                                                           }
       of:                                                         DOCKET NO.
                                                                                                 6)       Awaiting trial on other charges
             U.S. ATTORNEY                DEFENSE
                                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                                    }
                                                                                                                          Yes            If "Yes"
       pending case involving this same                                                               Has detainer
                                                                                                                                         give date
       defendant                                                  MAGISTRATE                          been filed?         No             filed


                                                           }
                                                                   CASE NO.
                                                                                                      DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                          ARREST
       defendant were recorded under                                                                  Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                             DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                  STEPHANIE M. HINDS                               TO U.S. CUSTODY
                                   U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)                        Michael G. Pitman, AUSA
                                                          ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                 NO PROCESS*                  WARRANT                  Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                         * Where defendant previously apprehended on complaint, no new summons or
                                                                                       warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                          Date/Time: 4/22/21 at 10:30 am            Before Judge: Jacqueline Corley

        Comments:
